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 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        No. 2:10-cr-00055-KJM
12                      Plaintiff/Respondent,
13          v.                                        ORDER
14   JOSE SERRANO-VILLALOBOS,
15                      Defendant/Petitioner.
16

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18                  On August 22, 2012, defendant-petitioner Jose Serrano-Villalobos pled guilty

19   without the benefit of a plea agreement to five charges: Count 1 (conspiracy to distribute and to

20   possess with intent to distribute methamphetamine and marijuana, in violation of 21 U.S.C. §§

21   846, 841(a)(1)); Count 2 (distribution of methamphetamine, in violation of 21 U.S.C. §

22   841(a)(1)); Count 4 (possession with intent to distribute methamphetamine, in violation of 21

23   U.S.C. § 841(a)(1)); Count 5 (possession with intent to distribute marijuana, in violation of 21

24   U.S.C. § 841(a)(1)); and Count 6 (conspiracy to possess with intent to distribute

25   methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1)). ECF Nos. 18, 82.

26                  The court held a sentencing hearing on December 5, 2012. ECF No. 97 (minutes).

27   After applying a two-level increase for firearm possession under the sentencing guidelines, the

28   court sentenced petitioner to 150 months in prison. Id.; see also ECF No. 205 at 3 (explaining
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 1   sentence in order denying motion for reduction of sentence: “Defendant received a two-level
 2   increase for possession of a firearm.”).
 3                  Petitioner now moves to vacate, set aside or correct his sentence under 28 U.S.C.
 4   § 2255, contending the Supreme Court’s decision in Johnson v. United States, __ U.S. __, 135 S.
 5   Ct. 2551 (2015), rendered the two-level enhancement unconstitutional. Mot., ECF No. 207. For
 6   reasons explained below, the motion is DENIED.
 7   I.      DISCUSSION
 8                  Johnson held the residual clause of the Armed Career Criminal Act (“ACCA”)
 9   18 U.S.C. § 924(e)(1), which subjected individuals to a minimum 15 year sentence for three or
10   more prior convictions for a “violent felony,” was unconstitutionally vague and violated due
11   process. See Johnson, 135 S. Ct. at 2557–60. The “residual clause” defined “violent felony” to
12   include a felony that “involves conduct that presents a serious potential physical risk of physical
13   injury to another.” See id. The Supreme Court has made Johnson retroactively applicable.
14   Welch v. United States, __ U.S. __, 136 S. Ct. 1257, 1265 (2016).
15                  Here, the court applied the two-level enhancement under the United States
16   Sentencing Guidelines, and not the ACCA. See ECF No. 205 at 3 (applying U.S.S.G.
17   § 2D1.1(b)(1)). Although the Ninth Circuit has not resolved the question, district courts have
18   agreed Johnson does not affect the two-level enhancement for the offense characteristic of
19   possessing a firearm provided for by U.S.S.G. § 2D1.1(b)(1). See Barajas v. United States, No.
20   13–0026, 2016 WL 4721481, at *2 (E.D. Cal. Sept. 8, 2016) (rejecting claim that Johnson
21   invalidates a two-level enhancement under Guideline § 2D1.1(b)(1) for possession of a firearm);
22   Rubino-Zamora v. United States, No. 11-223, 2016 WL 4505750, at *2 (N.D. Tex. Aug. 29,
23   2016) (same; reviewing cases); United States v. Johnson, No. 15–006, 2016 U.S. Dist. LEXIS
24   64137, *7–8 (D. Mont. May 16, 2016) (finding Johnson had nothing to do with the case when,
25   inter alia, Guidelines § 2D1.1(b)(1) was applied in calculating a sentence).
26                  Moreover, U.S.S.G. § 2D1.1(b)(1) does not contain a residual clause that raises
27   questions about unconstitutional vagueness; instead, the guidelines provision clearly lays out an
28   offense characteristic that triggers eligibility for the two-level enhancement for possessing a
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 1   dangerous weapon, in the context of calculating the guidelines range for offenses involving drugs
 2   as applicable here. See U.S.S.G. § 2D1.1(b)(1) (“If a dangerous weapon (including a firearm)
 3   was possessed, increase by 2 levels.”). Here, the facts do not warrant relief; petitioner pled guilty
 4   to drug-related charges, he agreed with the factual information contained in his presentence
 5   report, and his sentence was increased due to his undisputed possession of a firearm in execution
 6   of the conduct underlying the drug-related charges to which he pled. See ECF Nos. 99
 7   (sentencing memo), 97 & 206 at 8, 10-1, 12-13 (sealed presentence investigation report).
 8                  There are no grounds to reduce petitioner’s sentence here.
 9   II.      CONCLUSION
10                  For the foregoing reasons, petitioner’s motion is DENIED.
11                  This order resolves ECF No. 207.
12                  IT IS SO ORDERED.
13    DATED: August 22, 2017.
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15                                                  UNITED STATES DISTRICT JUDGE

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